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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS


 BARBARA BONE, individually and on behalf of
 all others similarly situated,
                                                      Civil Action No. 3:19-cv-30074-MGM
                              Plaintiff,
        v.

 THE YANKEE CANDLE COMPANY, INC.,

                              Defendant.


                                NOTICE OF COMPLIANCE

       Pursuant to the Court’s December 2, 2019 Order, Plaintiff hereby confirms that on

November 18, 2019, she provided Defendant’s counsel, by email, with an unredacted copy of her

Motion for Leave to File Newly Obtained Evidence and the exhibits attached thereto. (Dkt. 35).

Dated: December 5, 2019
                                              Respectfully submitted,

                                              By: /s/ Philip L. Fraietta
                                                     Philip L. Fraietta

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                                 CERTIFICATE OF SERVICE

         Pursuant to Local Rules 5.2(b)(2) and 5.4 of the Local Rules of the United States District
Court for the District of Massachusetts, I hereby certify that this document, filed through the ECF
system, will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing and that paper copies will be sent by first-class mail to those indicated as non-
registered participants, if any, on December 5, 2019.

                                                      /s/ Philip L. Fraietta
                                                      Philip L. Fraietta




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